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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA                         *




                                                 *
       y                                                      Criminal No. L-09-0459


ERIC GRIFFIN,                                    *


                                         *********



                      MOTION TO SUPPRESS TANGIBLE EVIDENCE

       The defendant, Eric Griffin, by and through his attorneys, James Wyda, Federal Public

Defender for the District of Maryland, and Franklin W. Draper, Assistant Federal Public Defender,

hereby moves this Honorable Court to suppress any evidence seized because of an unconstitutional

seizure and subsequent searches conducted in violation of the Fourth and Fifth Amendments to the

United States Constitution and as grounds therefore states the following:

       1.       Mr. Griffin is charged in a two count indictment with possession with intent to

distribute controlled substances in violation of 21 U.S.C.   § 841(a) (Count One), and possession
of a firearm by a prohibited person in violation of 18 U.S.C.   § 922(g) (Count Two). On July 30,
2010, the defendant was arraigned and entered a plea of not guilty to all counts of the indictment.

       2.       On July 21, 2009, Baltimore City Police Officers allegedly stopped a vehicle Mr.

Griffin was riding in for driving on a suspended driver’s license. Law enforcement officers detained

the defendant, and the vehicle was searched. Controlled dangerous substances were allegedly found

on the defendant and in the vehicle

       3.       The Fourth Amendment to the United States Constitution prohibits “unreasonable

searches and seizures.” U.S. Const. amend. IV. A discretionary automobile stop by the police is a

seizure of the person within meaning of Fourth Amendment, and therefore must be justified by a

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reasonable suspicion, based on specific and articulable facts, of unlawful conduct. See, e.g., City of

Indianapolis v. Edmund, 531 U.S. 32, 35-50 (2000); United States v. Jones, 242 F.3d 215, 218-19

(4th Cir. 2001); UnitedStates v. Johnson, 256 F.3d 214,215-17 (4th Cir. 2001) (stop of vehicle with

Georgia license plate solely because of dark tinted glass, violated Fourth Arnendment)UnitedStates

v. Wilson, 205 F.3d 720, 723-24 (4th Cir. 2000) (stop of a vehicle solely because it had temporary

tag and officer could not read expiration date violate the Fourth Amendment). When a police officer

makes a traffic stop, everyone in the vehicle is seized within the meaning ofthe Fourth Amendment,

notjust the driver. Brendlin v. California, 551 U.S. 249, 127 S.Ct. 2400,2406(2007); Un ited States

v. Rusher, 966 F.2d 868, 874 n.4 (4th Cir. 1992).

          4.       Because Mr. Griffin’s seizure and subsequent search were made without a warrant,

the government bears the burden of proving that the seizure and searches were legal.          Hayes v.

Florida, 470 U.S. 811(1985); Florida v. Royer, 460 U.S. 491, 500 (1983); United States v. Allen,

629 F.2d 51, 55 (D.C. Cir. 1980). See also Katz v. United States, 389 U.S. 347 (1967); Henry v.

United States, 361 U.S. 98 (1958). It is well settled that a search conducted without a warrant is per

se unreasonable unless it falls within one of the “well-delineated exceptions” to the warrant

requirement. The government bears the burden ofadducing sworn testimony sufficient to satisfy this

Court that the facts and circumstances known to the arresting officers at the time they seized Mr.

Griffin,justified that seizure and subsequent searches. Brinegar v. United States, 338 U.S. 160, 175

(1949).

          5.       In this case, the officers lacked probable cause or reasonable suspicion to make the

traffic stop on July 21, 2009. Because the evidence obtained in the search of the defendant was the

fruit of an unconstitutional seizure, the Court should suppress the physical evidence obtained by the

officers from his person and subsequent searches of a vehicle and buildings. Wong Sun v. United


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States, 371 U.S. 471 (1963).

        6.       Assuming arguendo the initial traffic stop was constitutional, the validity ofthe initial

stop does not end the Court’s analysis. The Court must inquire further because “a seizure that is

lawful at its inception can violate the Fourth Amendment if its manner of execution unreasonably

infringes interests protected by the Constitution.” Illinois v. Caballes, 543 U.S. 405, 407 (2005).

Because the officer’s justification for the traffic stop here is premised on a reasonable suspicion

based on a traffic code violation, the permissible scope of the initial stop is confined to the duration

and level of invasiveness necessary to investigate that violation. InUnited States v. Rusher, 966 F .2d

868 (4th Cir. 1992), the Fourth Circuit adopted the rule that a proper investigative stop occurs when

an officer requests the license and registration, runs a computer check, and issues a citation. Rusher,

966 F.2d at 876 (citing United States v. Guzman, 864 F.2d 1512, 1519 (10th Cir. 1988)). However,

in this case the searches at issue in this incident occurred after the officer had completed the

investigation. No furtherjustification existed for searching the vehicle, and the continued detention

of Mr. Griffin violated the Fourth Amendment because there was no reasonable, articulable

suspicion of a serious crime. Florida v. Royer, 460 U.S. 491, 498 (1983).

        7.       The Fourth Amendment requires police to secure a warrant before conducting a

search. Marylandv. Dyson, 527 U.S. 465, 466 (1999); see also United States v. Currence, 446 F.3d

554, 556 (4th Cir.2006).     Because the July 21, 2009 searches were made without a warrant, the

government bears the burden of proving they were legal. Hayes v. Florida, 470 U.S. 811 (1985);

Florida v. Royer, 460 U.S. 491, 500(1983); Un ited States v. Allen, 629 F.2d 51, 55 (D.C. Cir. 1980).

See also Katz v. United States, 389 U.S. 347 (1967); Henry v. United States, 361 U.S. 98 (1958).

It is well settled that a search conducted without a warrant is per se unreasonable unless it falls

within one of the “well-delineated exceptions” to the warrant requirement. The government bears


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the burden of adducing sworn testimony sufficient to satisfy this Court that the facts and

circumstances known to the arresting officers at the timejustified that seizure and subsequent search.

Brinegar v. United States, 338 U.S. 160, 175 (1949).

          WHEREFORE, the Defendant requests that this Court grant an Order of Suppression on the

grounds alleged herein and any other ground that may become apparent upon a hearing on the

motion.

                                               Respectfully submitted,

                                               JAMES WYDA
                                               Federal Public Defender


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                    MEMORANDUM OF POINTS AND AUTHORITIES

              1.      Fourth Amendment to the United States Constitution
              2.      Fifth Amendment to the United States Constitution
              3.      Brendlin v. California, 551 U.S. 249 (2007)
              4.      Brinegar v. United States, 338 U.S. 160 (1949)
              5.      City ofIndianapolis v. Edmund, 531 U.S. 32 (2000)
              6.      Florida v. Royer, 460 U.S. 491 (1983)
              7.      Hayes v. Florida, 470 U.S. 811 (1985)
              8.      Henryv. United States, 361 U.S. 98(1958)
              9.      Illinois v. Caballes, 543 U.S. 405 (2005)
              10.     Katz v. United States, 389 U.S. 347 (1967)
              11.     Marylandv. Dyson, 527 U.S. 465 (1999)
              12.     Royer v. Florida, 460 U.S. 491 (1983)
              13.     United States v. Allen, 629 F.2d 51 (D.C. Cir. 1980)
              14.     United States v. Currence, 446 F.3d 554 (4th Cir. 2006)
              15.     United States v. Johnson, 256 F.3d 214 (4th Cir. 2001)
              16.     United States v. Jones, 242 F.3d 215 (4th Cir. 2001)
              17.     United States v. Rusher, 966 F.2d 868 (4th Cir. 1992)
              18.     United States v. Wilson, 205 F.3d 720 (4th Cir. 2000)
              19.     Wong Sun v. United States, 371 U.S. 471 (1963)




                                 REOUEST FOR HEARING

       Pursuant to Rule 105.6 of the Local Rules of the United States District Court of Maryland,

a hearing is requested on the Defendants Motion.



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                                            FRANKLIN W. DRAPER (#26316)
                                            Assistant Federal Public Defender




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 3, 2010, the foregoing motion was filed using the District of

Maryland CM/ECF system and was served electronically upon the following counsel:

              Philip S. Jackson, Esquire
              Assistant United States Attorney
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              Baltimore, Maryland 21201



                                                          /5/
                                            FRANKLIN W. DRAPER (#263 16)
                                            Assistant Federal Public Defender




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